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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

CHARLES B. JACKSON III,

       Petitioner,
v.                                                                    1:20-cv-00242-MV-LF

TIMOTHY HATCH, Warden, and
ATTORNEY GENERAL OF THE
STATE OF NEW MEXICO,

       Respondents.

                  ORDER ADOPTING MAGISTRATE JUDGE’S
             PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

       The Magistrate Judge filed her Proposed Findings and Recommended Disposition on

September 13, 2021. Doc. 22. The proposed findings notified the parties of their ability to file

objections within fourteen (14) days and that failure to do so waived appellate review. To date,

the parties have not filed any objections and there is nothing in the record indicating that the

proposed findings were not delivered.

       Wherefore,

       IT IS HEREBY ORDERED AS FOLLOWS:

       1.      The Magistrate Judge’s Proposed Findings and Recommended Disposition (Doc.
               22) is ADOPTED;

       2.      The Court finds that Mr. Jackson has filed a mixed petition. Mr. Jackson has
               exhausted only the following three sub-claims contained in his habeas petition
               (Doc. 1):
                  • (1)(a) ineffective assistance of counsel due to trial counsel failing to “look
                  into missing text messages”;
                  • (2)(a) narcotics agents involved in his case “withheld exculpatory evidence”
                  consisting of “text messages between [him] and Sheriff of Dona Ana County
                  Chris Lopez that would have proved [he] aborted the transactions he was
                  charged with on July 27, 2018”;
                  • (4)(b) trial court error and lack of due process based on the trial court failing
                  to heed his allegations of missing text messages.
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  3. If Mr. Jackson wishes to proceed with his habeas petition solely on his three
     exhausted sub-claims, he must file a document so stating within thirty (30) days
     of this order. If Mr. Jackson fails to file a document voluntarily dismissing his
     unexhausted claims within thirty (30) days, the Court will dismiss his entire
     petition without prejudice.



                                   ______________________________________
                                   UNITED STATES DISTRICT JUDGE




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